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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

 NANCY LIETZ,

                            Plaintiff,

 vs.                                         CASE NO. ________________________

 OXFORD LAW, LLC,

                      Defendant.
 ___________________________________/

                                   COMPLAINT
                                  JURY DEMAND

                                 INTRODUCTION

        1.     Plaintiff alleges that Defendant left voicemail messages for Plaintiff

 in which Defendant failed to disclose the message was from a debt collector in

 violation of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

 (“FDCPA”).

                          JURISDICTION AND VENUE

        2.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331, 1337 and

 15 U.S.C. § 1692k. Venue in this District is proper because Plaintiff resides here

 and Defendant placed telephone calls into this District.




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                                       PARTIES

        3.     Plaintiff, Nancy Lietz is a natural person and a citizen of the State of

 Florida, residing in Pinellas County in the Middle District of Florida.

        4.     Defendant, Oxford Law, LLC is a foreign company organized and

 existing under the laws of the State of Pennsylvania with its principal place of

 business and corporate offices in Trevose, Pennsylvania.

        5.     Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.     Defendant regularly collects or attempts to collect debts for other

 parties.

        7.     Defendant is a “debt collector” as that term is defined in the FDCPA.

        8.     Defendant was acting as a debt collector with respect to the

 collection of Plaintiff’s alleged debt.

                            FACTUAL ALLEGATIONS

        9.     Defendant sought to collect from Plaintiff an alleged debt arising

 from transactions incurred for personal, family, or household purposes.

        10.    Defendant left the following messages on Plaintiff’s voice mail on

 her cellular telephone on or about the dates stated:

        September 24, 2014 at 9:44 AM




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        This is an important message for Nancy Lietz. Nancy my name is
        Michelle Black, I am with the Oxford Law office, and I need to
        speak with you. 1-877-543-6551 extension is 199. Refer to file
        number that’s 7536767.

        11.      Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).

        12.      The messages are “communications” as defined by 15 U.S.C. §

 1692a(2). See Belin v. Litton Loan Servicing, 2006 U.S. Dist. LEXIS 47953

 (M.D.Fla. July 14, 2006) (holding that messages left on the debtor’s answering

 machine were “communications” under the FDCPA); Foti v. NCO Fin. Sys., 424

 F.Supp.2d 643, 655-56 (S.D.N.Y.2006) (holding that a voice mail message is a

 “communication” under the FDCPA); Hosseinzadeh v. M.R.S. Assocs., Inc., 387

 F.Supp.2d 1104, 1115-16 (C.D.Cal. 2005) (same).

        13.      Defendant failed to inform Plaintiff in the messages that the

 communication was from a debt collector.

                            COUNT I
         FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR
                IN VIOLATION OF 15 U.S.C. § 1692e(11)

        14.      Plaintiff incorporates Paragraphs 1 through 13 above as if fully set

 forth herein.

        15.      Defendant failed to disclose in the telephone messages that the

 message was from a debt collector in violation of 15 U.S.C. §1692e(11). See e.g.,

 Foti v. NCO Fin. Sys., 424 F. Supp. 2d 643, 646 (S.D.N.Y. 2006); Belin v. Litton



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 Loan Servicing, 2006 U.S. Dist. LEXIS 47953 (M.D.Fla. 2006); Leyse v.

 Corporate Collection Servs., 2006 U.S. Dist. LEXIS 67719 (S.D.N.Y. 2006).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a. Damages;

               b. Attorney’s fees, litigation expenses and costs of suit; and

               c. Such other or further relief as the Court deems proper.

                                  JURY DEMAND

        Plaintiff demands trial by jury.

                                             /s/ James S. Giardina
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